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                         UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      )
                                              )
               v.                             )
                                              )
                                              )      Case No. 22-cr-15-7 APM
JOSEPH HACKETT                                )
                                              )

                                             ORDER

       AND NOW, this ______ day of __________________, 2022, Defendant Joseph

Hackett’s conditions of pretrial release shall be modified as follows:

   •   Mr. Hackett is permitted to travel from the District of Columbia on or about December

       22, 2022 to his residence in Sarasota, Florida. He is permitted to travel from his home in

       Sarasota, Florida to the District of Columbia between January 1, 2023 and January 3,

       2023.

All other conditions of release shall remain as set forth in ECF 382 and as modified by Minute

Order entered on December 6, 2022.
                                                             2022.12.21
                                                             08:25:02
                                                             -05'00'
                                              _____________________________
                                              The Honorable Amit P. Mehta
                                              United States District Court Judge
